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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         Case No. A19-59740-WLH
         KEIDRA AIESHA ALI-GADSON

                     Debtor(s)


          STANDING CHAPTER 13 TRUSTEE’S FINAL REPORT AND ACCOUNT

        Nancy Whaley, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as follows:


         1) The case was filed on 06/24/2019.

         2) The plan was confirmed on 02/05/2020.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was converted on 08/03/2021.

         6) Number of months from filing to last payment: 23.

         7) Number of months case was pending: 26.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $30,489.93.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor              $10,997.38
           Less amount refunded to debtor                             $0.00

NET RECEIPTS:                                                                                   $10,997.38


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $2,287.88
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $701.21
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $2,989.09

Attorney fees paid and disclosed by debtor:                        $0.00


Scheduled Creditors:
Creditor                                            Claim       Claim         Claim       Principal     Int.
Name                                  Class       Scheduled    Asserted      Allowed        Paid        Paid
DIRECT V, LLC BY AMERICAN INFOSOURCE
                                UnsecuredLP AS AGENT NA            579.11        579.11         0.00      0.00
SANT ANDER CONSUMER USA, INC. Unsecured                NA       6,408.90       6,408.90         0.00      0.00
SANT ANDER CONSUMER USA, INC. Secured            19,000.00     13,475.00      13,475.00     4,932.20    779.81
GEORGIA DEPART MENT OF REVENUE  Priority              0.00            NA            NA          0.00      0.00
IRS                             Priority              0.00            NA            NA          0.00      0.00
CROWN REALT Y & MANAG           Unsecured         3,857.00            NA            NA          0.00      0.00
SANT ANDER CONSUMER USA         Unsecured        19,638.00            NA            NA          0.00      0.00
WELLS FARGO DEALER SERVICES Unsecured             9,436.00            NA            NA          0.00      0.00
WELLS FARGO HOME MORT GAGE Unsecured             81,809.00            NA            NA          0.00      0.00
SPRINT CORP.                    Unsecured         1,178.00      1,178.93       1,178.93         0.00      0.00
T MOBILE/T -MOBILE USA, INC.    Unsecured              NA       2,128.01       2,128.01         0.00      0.00
U.S. BANK NAT IONAL ASSOCIAT ION,Secured
                                  AS T RUST EE FOR
                                                 10,000.00
                                                   RMT P T RUST10,023.70
                                                                , SERIES 2021 10,023.70
                                                                              BKM-T T       2,296.28      0.00
WEST LAKE SERVICES, LLC DBA WESTUnsecured
                                   LAKE FINANCIAL 7,593.00
                                                    SERVICES 7,593.25          7,593.25         0.00      0.00




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 Summary of Disbursements to Creditors:
                                                                   Claim        Principal         Interest
                                                                Allowed             Paid             Paid
 Secured Payments:
       Mortgage Ongoing                                           $0.00            $0.00           $0.00
       Mortgage Arrearage                                    $10,023.70        $2,296.28           $0.00
       Debt Secured by Vehicle                               $13,475.00        $4,932.20         $779.81
       All Other Secured                                          $0.00            $0.00           $0.00
 TOTAL SECURED:                                              $23,498.70        $7,228.48         $779.81

 Priority Unsecured Payments:
         Domestic Support Arrearage                                $0.00             $0.00         $0.00
         Domestic Support Ongoing                                  $0.00             $0.00         $0.00
         All Other Priority                                        $0.00             $0.00         $0.00
 TOTAL PRIORITY:                                                   $0.00             $0.00         $0.00

 GENERAL UNSECURED PAYMENTS:                                 $17,888.20              $0.00         $0.00

 Disbursements:

          Expenses of Administration                               $2,989.09
          Disbursements to Creditors                               $8,008.29

 TOTAL DISBURSEMENTS :                                                                       $10,997.38


        12) The trustee certifies that the foregoing summary is true and complete and all administrative
matters for which the trustee is responsible have been completed. The trustee requests that the trustee
be discharged and granted such relief as may be just and proper.

Dated: 08/18/2021                                   By: /s/ Nancy Whaley
                                                                           Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                     CERTIFICATE OF SERVICE


Case No. A19-59740-WLH


I certify that on this day I caused a copy of this Trustee's Final Report to be served via United States
First Class Mail with adequate postage prepaid on the following parties at the address shown for each:


Debtor(s):
KEIDRA AIESHA ALI-GADSON
1691 TREE LINE RD
LITHONIA, GA 30058

I further certify that I have on this day electronically filed the foregoing Trustee's Final Report using the
Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program:


Attorney for the Debtor(s):
CLARK & WASHINGTON, P.C.




This the 18th day of August, 2021.


/s/____________________________________
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   State Bar No. 377941
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201




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